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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                               CASE NO.

  TWOWS, LLC,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                       /

                                             COMPLAINT

         Plaintiff TWOWS, LLC (“Twows” or “Plaintiff”), by and through undersigned counsel,

  hereby sues Defendants, the Individuals, Partnerships, and Unincorporated Associations identified

  in the caption, which are set forth on Schedule “A1” (collectively, the “Defendants”), and alleges

  as follows:

                                     NATURE OF THE ACTION

         1.        Defendants are promoting, selling, reproducing, offering for sale, and distributing

  goods using unauthorized reproductions of Twows’ copyrighted works within this district through

  various Internet based e-commerce stores and fully interactive commercial Internet websites

  operating under the seller identification names set forth on Schedule “A” (the “Seller IDs”).

         2.        Like many other famous copyright owners, Plaintiff suffers ongoing daily and

  sustained violations of its copyright at the hands of infringers, such as Defendants herein, who




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             Schedule A will be filed under seal.
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  wrongfully reproduce Plaintiff’s copyrights for the twin purposes of (i) duping and confusing the

  consuming public and (ii) earning substantial profits. The natural and intended byproduct of

  Defendants’ actions is the erosion and destruction of the goodwill associated with Plaintiff’s

  copyrights, as well as the destruction of the legitimate market sector in which it operates.

         3.       In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, Plaintiff has expended significant amounts of

  resources in connection with copyright enforcement efforts, including legal fees, investigative

  fees, and support mechanisms for law enforcement. The exponential growth of infringing conduct

  over the Internet, particularly through online marketplace platforms, has created an environment

  that requires companies, such as Plaintiff, to expend significant time and money across a wide

  spectrum of efforts in order to protect both consumers and itself from the negative effects of

  confusion and the erosion of the goodwill connected to Plaintiff’s copyrighted work.

                                   JURISDICTION AND VENUE

         4.      This is an action seeking damages and injunctive relief for copyright infringement

  under the Copyright Act, 17 U.S.C. § 101 et seq.

         5.      This Court has subject matter jurisdiction pursuant to 17 U.S.C. §§ 101 et seq., and

  28 U.S.C. §§ 1331 and 1338.

         6.      Defendants are subject to personal jurisdiction in this District because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this District through at least the Internet based e-

  commerce stores and fully interactive commercial Internet websites accessible in Florida and

  operating under the Seller IDs. Upon information and belief, Defendants infringe Plaintiff’s

  copyright in this District by advertising, using, selling, promoting and distributing unauthorized



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  reproductions of Plaintiff’s copyrighted work through such Internet based e-commerce stores and

  fully interactive commercial Internet websites.

         7.      Venue is proper in this District pursuant 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens engaged in infringing activities and causing harm within this

  District by advertising, offering to sell, selling and/or shipping infringing products into this

  District. Finally, Venue is proper in this Court pursuant to 28 U.S.C. § 1400(a), which states that

  “civil actions, suits, or proceedings arising under any Act of Congress relating to copyrights…

  may be instituted in the district in which the defendant or his agent resides or may be found.”

  Defendants may be found in this District, as they are subject to personal jurisdiction herein.

                                          THE PLAINTIFF

         8.      Twows is the owner of the motion picture The Wolf Of Wall Street, which is valid

  and registered with the United States Copyright Office, Registration Number PA0001872685 (the

  “Copyrighted Work”).

         9.      The Copyrighted Work is a 2013 American biographical crime black comedy

  film directed by Martin Scorsese and written by Terence Winter, based on the 2007

  memoir by Jordan Belfort. It recounts Belfort's perspective on his career as a stockbroker in New

  York City and how his firm, Stratton Oakmont, engaged in rampant corruption and fraud on Wall

  Street, which ultimately led to his downfall. Leonardo DiCaprio, who was also a producer on the

  film, stars as Belfort, with Jonah Hill as his business partner and friend, Donnie Azoff, Margot

  Robbie as his wife, Naomi Lapaglia, and Kyle Chandler as FBI agent Patrick Denham.

         10.     The film premiered in New York City on December 17, 2013, and was released in

  the United States on December 25, 2013, by Paramount Pictures, and was the first major American

  film to be released exclusively through digital distribution. It was a major commercial success,



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  grossing $392 million worldwide during its theatrical run, becoming Scorsese's highest-grossing

  film.

          11.    Twows has expended substantial time, money, and other resources developing,

  advertising, and otherwise promoting the Copyrighted Work in the United States and throughout

  the world.

                                        THE DEFENDANTS

          12.    Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

  redistribute products from the same or similar sources in those locations and/or ship their goods

  from the same or similar sources in those locations to shipping and fulfillment centers within the

  United States to redistribute their products from those locations. Defendants have the capacity to

  be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business

  activities towards consumers throughout the United States, including within this district through

  the operation of Internet based e-commerce stores via Internet marketplace websites under the

  Seller IDs.

          13.    Defendants are the past and present controlling forces behind the sale of products

  infringing Plaintiff’s Copyrighted Work as described herein using at least the Seller IDs.

          14.    Upon information and belief, Defendants directly engage in unfair competition by

  advertising, offering for sale, and selling goods bearing the Copyrighted Work or derivatives

  thereof, to consumers within the United States and this District through Internet based e-commerce

  stores using, at least, the Seller IDs and additional seller identification aliases and domain names

  not yet known to Plaintiff. Defendants have purposefully directed some portion of their illegal




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  activities towards consumers in the State of Florida through the advertisement, offer to sell, sale,

  and/or shipment of infringing goods into the State.

          15.     Defendants have registered, established or purchased, and maintained their Seller

  IDs. Upon information and belief, Defendants may have engaged in fraudulent conduct with

  respect to the registration of the Seller IDs.

          16.     Upon information and belief, some Defendants have registered and/or maintained

  their Seller IDs for the sole purpose of engaging in illegal activities.

          17.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases and domain names for the purpose of selling and offering for sale goods

  bearing unauthorized reproductions or derivative works of one or more of Plaintiff’s copyrights

  unless preliminarily and permanently enjoined.

          18.     Defendants use their Internet-based businesses in order to infringe the intellectual

  property rights of Plaintiff.

          19.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

  any other alias seller identification names used in connection with the sale of infringing goods

  bearing Plaintiff’s copyright are essential components of Defendants’ online activities and are one

  of the means by which Defendants further their infringement scheme and cause harm to Plaintiff.

  Moreover, Defendants are using Plaintiff’s famous copyright to drive Internet consumer traffic to

  their e-commerce stores operating under the Seller IDs, thereby increasing the value of the Seller

  IDs and decreasing the size and value of Plaintiff’s legitimate marketplace and intellectual property

  rights at Plaintiff’s expense.

                              GENERAL FACTUAL ALLEGATIONS

                                   Twows’ Intellectual Property Rights



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         20.     Plaintiff is the owner of the following copyright registered in the United States of

  America:

       Registration          Registration Date                       Title of Work
        Number
      PA0001872685             Dec. 26, 2013       THE WOLF OF WALL STREET / TWOWS,
                                                   LLC ; TWOWS, LLC.

         21.     Plaintiff’s registration of the Copyrighted Work identified herein pre-dates

  Defendants’ infringement thereof. A true and correct copy of the U.S. Copyright Office’s online

  record for this work is attached hereto as Exhibit 1.

         22.     Plaintiff has all exclusive rights in and to the Copyrighted Work and controls all

  licenses to distribute, perform, and enforce its rights to the Copyrighted Work.

                                   Defendants’ Infringing Conduct

         23.     Upon information and belief, Defendants are promoting and advertising,

  distributing, selling, and/or offering for sale infringing goods in interstate commerce using exact

  copies and confusingly similar copies of the Copyrighted Work through at least the Internet based

  e-commerce stores operating under the Seller IDs (collectively, the “Infringing Goods”).

         24.     Defendants, upon information and belief, are actively using, promoting and

  otherwise advertising, distributing, selling and/or offering for sale substantial quantities of their

  Infringing Goods without authority to use the Copyrighted Work.

         25.     Defendants advertise their Infringing Goods for sale to the consuming public via e-

  commerce stores on Internet marketplace websites using at least the Seller IDs . In so advertising

  these goods, Defendants improperly and unlawfully use reproductions of the Copyrighted Work

  or derivatives thereof, without Plaintiff’s permission.

         26.     As part of their overall infringement scheme, Defendants are, upon information and

  belief, employing and benefitting from substantially similar, advertising and marketing strategies

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  based, in large measure, upon an illegal use of infringements of the Copyrighted Work.

  Specifically, Defendants are using infringements of Plaintiff’s famous Copyrighted Work in order

  to make their e-commerce stores and websites selling illegal goods appear more relevant,

  authentic, and attractive to consumers searching for Plaintiff’s related goods and information

  online. Defendants are causing individual, concurrent and indivisible harm to Plaintiff and the

  consuming public by (i) depriving Plaintiff and other third parties of their right to fairly compete

  for space within search engine results and reducing the visibility of Plaintiff’s genuine Copyrighted

  Work on the World Wide Web, (ii) causing an overall degradation of the goodwill associated with

  the Copyrighted Work, and/or (iii) increasing Plaintiff’s overall cost to market the Copyrighted

  Work and educate consumers about its Copyrighted Work via the Internet.

         27.     Upon information and belief, Defendants are concurrently targeting their infringing

  activities toward consumers and causing harm within this District and elsewhere throughout the

  United States. As a result, Defendants are defrauding Plaintiff and the consuming public for

  Defendants’ own benefit.

         28.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiff’s ownership of the Copyrighted Work, including its exclusive right

  to use and license such intellectual property.

         29.     Defendants’ use of the Copyrighted Work, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Infringing Goods, is

  without Plaintiff’s consent or authorization.

         30.     Defendants are engaging in the above-described illegal infringing activities

  knowingly and intentionally or with reckless disregard or willful blindness to Plaintiff’s rights. If




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  Defendants’ willful and intentional infringing activities are not preliminarily and permanently

  enjoined by this Court, Plaintiff and the consuming public will continue to be harmed.

         31.     Upon information and belief, Defendants’ payment and financial accounts are

  being used by Defendants to accept, receive, and deposit profits from Defendants’ infringing

  activities connected to their Seller IDs and any other alias seller identification names being used

  and/or controlled by them.

         32.     Further, upon information and belief, Defendants are likely to transfer or conceal

  their assets to avoid payment of any monetary judgment awarded to Plaintiff.

         33.     Plaintiff has no adequate remedy at law.

         34.     Plaintiff is suffering irreparable injury and has suffered substantial damages as a

  result of Defendants’ unauthorized and wrongful use of the Copyrighted Work.

         35.     The harm and damages sustained by Plaintiff have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Infringing Goods.

                         COUNT I -- INFRINGEMENT OF COPYRIGHT

         36.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

  through 35 as though fully set forth herein.

         37.     Plaintiff has registered and owns the copyright in and to the registered work

  identified on Exhibit 1 hereto.

         38.     Defendants have copied, performed, and distributed this Copyrighted Work

  through their advertising, distributing, offering for sale, and selling of Infringing Goods as part of

  a large scale and ongoing daily illegal enterprise. This illegal enterprise, without injunctive relief,

  will continue through the Defendants’ Seller ID’s as well as through other seller identifications



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  owned now or in the future by the Defendants.

           39.   Defendants are directly liable for infringing Plaintiff’s Copyrighted Work under the

  Copyright Act, 17 U.S.C. §§ 106(1), (2), (3), (5) & 501.

           40.   Without authorization from any Plaintiff, or right under law, Defendants have

  directly infringed Plaintiff’s Copyrighted Work by their copying, display, and distribution of those

  works used by Defendants to cause and effect the copying, display, and/or distribution of those

  works through their advertising, distributing, offering for sale, and selling of Infringing Goods.

           41.   Defendants have actual and constructive knowledge, or should have knowledge, of

  their infringement of Plaintiff’s Copyrighted Work.

           42.   The foregoing acts of infringement have been willful, intentional, and purposeful,

  in disregard of and indifferent to Plaintiff’s rights in the Copyrighted Work.

           43.   As a direct and proximate result of Defendants’ infringement of Plaintiff’s

  exclusive rights, Plaintiff is entitled to actual damages as well as Defendants’ profits pursuant to

  17 U.S.C. § 504(b).

           44.   Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable and irreparable harm and unquantifiable damages to Plaintiff and are unjustly

  enriching Defendants at Plaintiff’s expense.

           45.   Alternatively, Plaintiff is entitled to the maximum statutory damages in the amount

  of $150,000.00 per infringement, pursuant to 17 U.S.C. § 504(c), or such other amount as may be

  proper pursuant to 17 U.S.C. § 504(c).

           46.   Plaintiff is further entitled to its attorneys’ fees and full costs pursuant to 17 U.S.C.

  § 505.

           47.   In addition, Plaintiff is entitled to injunctive relief, as set forth below, because of



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   the continuing infringement of many of Plaintiff’s Copyrighted Work and because of the

   significant threat of future infringement as evidenced herein.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an award

   of equitable relief and monetary relief against Defendants as follows:

          A.      Entry of temporary, preliminary, and permanent injunctions pursuant to 17 U.S.C.

   § 502(a), and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

   representatives, servants, employees, and all those acting in concert or participation therewith,

   from manufacturing or causing to be manufactured, importing, advertising or promoting,

   distributing, selling or offering to sell their Infringing Goods; from infringing, counterfeiting, or

   diluting the Masha and The Bear Marks; and from using any reproduction, counterfeit, copy, or

   colorable imitation of the Copyrighted Work in connection with the publicity, promotion, sale, or

   advertising of any goods sold by Defendants.

          B.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

   Court’s inherent authority, that, upon Plaintiff’s request, the applicable governing Internet

   marketplace website operators and/or administrators for the Seller IDs who are provided with

   notice of an injunction issued by the Court disable and/or cease facilitating access to the Seller

   IDs, associated ecommerce stores and websites, and any other alias seller identification names

   being used and/or controlled by Defendants to engage in the business of marketing, offering to

   sell, and/or selling goods bearing infringements of the Copyrighted Work.

          C.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

   Court’s inherent authority, that, upon Plaintiff’s request, any Internet marketplace website

   operators and/or administrators for the Seller IDs who are provided with notice of an injunction



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   issued by the Court, identify any e-mail address known to be associated with Defendants’

   respective Seller ID.

           D.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

   Court’s inherent authority that, upon Plaintiff’s request, any Internet marketplace website

   operators and/or administrators who are provided with notice of an injunction issued by the Court

   permanently remove any and all listings and associated images of goods bearing infringements of

   the Copyrighted Work via the e-commerce stores operating under the Seller IDs, and upon

   Plaintiff’s request, any other listings and images of goods bearing infringements of the

   Copyrighted Work associated with and/or linked to the same sellers or linked to any other alias

   seller identification names being used and/or controlled by Defendants to promote, offer for sale

   and/or sell goods bearing infringements of the Copyrighted Work.

           E.      Entry of an order that, upon Plaintiff’s request, Defendants and any financial

   institutions, payment processors, banks, escrow services, money transmitters, or marketplace

   platforms, and their related companies and affiliates, identify and restrain all funds, up to and

   including the total amount of judgment, in all financial accounts and/or sub-accounts used in

   connection with the Seller IDs or other alias seller identification or e-commerce store names,

   domain names and/or websites used by Defendants presently or in the future, as well as any other

   related accounts of the same customer(s) and any other accounts which transfer funds into the same

   financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the monetary

   judgment entered herein.

           F.      Entry of an Order requiring Defendants to pay Plaintiff for all profits and damages

   resulting from Defendants’ copyright infringement activities, together with appropriate interest

   thereon; that Defendants be required to account to Plaintiff for, and disgorge to Plaintiff, and to



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   pay to Plaintiff, all the gains, profits, savings and advantages realized by Defendants from their

   acts of copyright infringement described above; or, at Plaintiff’s election, that Plaintiff be awarded

   statutory damages from Defendants in the amount of one hundred and fifty thousand dollars

   ($150,000.00) per each registered Copyrighted Work infringed, as provided by 17 U.S.C. § 504(c),

   enhanced to reflect the willful nature of Defendants’ infringement, instead of an award of actual

   damages or profits, and be awarded its costs and disbursements incurred in this action, including

   reasonable attorneys’ fees pursuant to 17 U.S.C. § 505.

          G.      Entry of an order requiring Defendants to pay prejudgment interest according to

   law.

          H.      Entry of an order for such other and further relief as the Court may deem proper

   and just.

   Date: April 12, 2022                                  Respectfully submitted by,

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